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Attorneys for Plaintiff Bryon Jackson


                                UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA

                                    SAN FRANCISCO DIVISION


BRYON JACKSON,                            )             Case No. 3:21-cv-08458-LB
                                          )
   Plaintiff,                             )             NOTICE OF ATTORNEY APPEARANCE
                                          )             OF FRANCESCA MIKI SHIMA
v.                                        )             GERMINARIO
                                          )
TARGET CORPORATION,                       )             Judge:      Hon. Laurel Beeler
                                          )
   Defendant.                             )
                                          )
_________________________________________ )

       Plaintiff Bryon Jackson hereby notifies the Court and the parties to this action that Francesca

Miki Shima Germinario of Warren Kash Warren LLP, an attorney admitted to practice before this Court,

appears as counsel for plaintiff Bryon Jackson in this matter, under the Court’s Order Appointing

Counsel, Docket No. 87 (Sept. 14, 2023). Please serve all pleadings, correspondence, and other

materials on Ms. Germinario at the above address.

Date: January 18, 2024                            Respectfully submitted,
                                                  _______________________________________
                                                  Francesca Miki Shima Germinario
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